     IN THE UNITED STATES COURT OF APPEALS FOR THE DISTRICT
                      OF COLUMBIA CIRCUIT

ADVANCED ENERGY UNITED,
CLEAN ENERGY BUYERS
ASSOCIATION, ENERGY ALABAMA,
GEORGIA INTERFAITH POWER AND
LIGHT, NATURAL RESOURCES
DEFENSE COUNCIL, NORTH
CAROLINA SUSTAINABLE ENERGY
ASSOCIATION, PARTNERSHIP FOR
SOUTHERN EQUITY, SOLAR
ENERGY INDUSTRIES ASSOCIATION,                       Case No. 23-1341
SOUTHERN ALLIANCE FOR CLEAN
ENERGY, SOUTH CAROLINA
COASTAL CONSERVATION LEAGUE,
SOUTHFACE INSTITUTE, and VOTE
SOLAR,
Petitioners

v.

FEDERAL ENERGY REGULATORY
COMMISSION,
Respondent


                           UNDERLYING DECISION

       The underlying agency decision challenged in this petition for review is set

forth in the following orders of the Federal Energy Regulatory Commission:


     1. Alabama Power Co., Dominion Energy South Carolina, Inc., Louisville Gas
        and Electric Co., Duke Energy Carolinas, LLC, Duke Energy Progress,
        LLC, Georgia Power Co., Kentucky Utilities Co., Mississippi Power Co.,
        Notice of Filing Taking Effect by Operation of Law, Docket Nos. ER21-
        1111-002, ER21-1112-002, ER21-1114-002, ER21-1116-002, ER21-1117-
        002, ER21-1119-002, ER21-1120-002, and ER21-1121-002 (Oct. 13, 2021);
      Statement of James P. Danly, Docket Nos. ER21-1111-002, ER21-1112-
      002, ER21-1114-002, ER21-1115-000, ER21-1115-001, ER21-1115-002,
      ER21-1116-002, ER21-1117-002, ER21-1118-002, ER21-1119-002, ER21-
      1120-002, ER21-1125-000, ER21-1125-001, ER21-1125-002, and ER21-
      1128-002 (Oct. 20, 2021); Statement of Commissioner Christie, Docket Nos.
      ER21-1111-002, ER21-1112-002, ER21-1114-002, ER21-1115-000, ER21-
      1115-001, ER21-1115-002, ER21-1116-002, ER21-1117-002, ER21-1118-
      002, ER21-1119-002, ER21-1120-002, and ER21-1125-000, ER21-1125-
      001, ER21-1125-002, and ER21-1128-002 (Oct. 20, 2021); Statement of
      Chairman Glick, Docket Nos. ER21-1111-002, ER21-1114-002, ER21-
      1120-002, and ER21-1112-002 (Oct. 20, 2021); Statement of Commissioner
      Clements, ER21-1111-002, ER21-1112-002, ER21-1114-002, ER21-1116-
      002, ER21-1117-002, ER21-1119-002, ER21-1120-002, and ER21-1121-
      002 (Oct. 20, 2021).


Dated January 19, 2024.               Respectfully submitted,

/s/ Maia Hutt
Maia Hutt
Southern Environmental Law Center
601 West Rosemary St, Suite 220
Chapel Hill, NC 27516
(919) 967-1450
mhutt@selcnc.org

Counsel for Energy Alabama, Georgia Interfaith Power and Light, North Carolina
Sustainable Energy Association, Partnership for Southern Equity, Southern
Alliance for Clean Energy, South Carolina Coastal Conservation League,
Southface Energy Institute, Vote Solar

/s/ Danielle C. Fidler
Danielle C. Fidler
Earthjustice
48 Wall Street, 15th Floor
New York, NY 10005
(202) 667-4500
dfidler@earthjustice.org
Alexander Tom
Earthjustice
50 California Street, Suite 500
San Francisco, CA 94111
atom@earthjustice.org

John N. Moore
Natural Resources Defense Council
20 North Wacker Street, Suite 1600
Chicago, Illinois 60201
(312) 651-7927
jmoore@nrdc.org
Caroline Reiser
Natural Resources Defense Council
1152 15th St. NW #300
Washington, DC 20005
(202) 717-8341
creiser@nrdc.org

Counsel for Natural Resources Defense Council

/s/ Ben Norris
Ben Norris
Solar Energy Industries Association
1425 K Street NW Suite 1000
Washington, DC 20005
bnorris@seia.org

Counsel for Solar Energy Industries Association

Todd G. Glass
Wilson Sonsini Goodrich & Rosati, PC
501 Fifth Avenue, Suite 5100
Seattle, WA 98104
(206) 883-2571
tglass@wsgr.com

Nicholas Gladd
Wilson Sonsini Goodrich & Rosati, PC
1700 K Street NW
Washington, DC 20006
ngladd@wsgr.com

Jeremy McDiarmid
Advanced Energy United
1801 Pennsylvania Ave. NW
Suite 410
Washington, DC 20006
jmcdiarmid@advancedenergyunited.org

Counsel for Advanced Energy United

/s/ Karl Sandstrom
Karl Sandstrom
Perkins Coie LLP
700 Thirteenth Street, NW Suite 800 Washington,
DC 20005-3960
KSandstrom@perkinscoie.com

Counsel for Clean Energy Buyers Association
                       CERTIFICATE OF SERVICE

     I hereby certify that on January 19, 2024, I caused the foregoing Underlying

Appendix to be served via the Court’s CM/ECF system.

                              /s/ Danielle C. Fidler
                              Danielle C. Fidler
                              Earthjustice
                              48 Wall Street, 15th Floor
                              New York, NY 10005
                              (202) 285-0926
                              dfidler@earthjustice.org

DATED: January 19, 2024
